                             Case 3:20-mc-00068-WIG Document 12 Filed 09/04/20 Page 1 of 1

                    Case 3:20 mc-00068-SALM *SEALED* Document 2 Filed 08/26/20 Page 1 of 2
\ll 442 I lh•• I I I 1: \ 11·cs1 \\'an·anl



                                                    UNITED STA TES DISTRICT COURT
                                                                               for the
                                                                       District of Connecticut

                         United States of America
                                            V.
                In the Matter of the Extradition of                                      Case No.      3:20MC68(SALM)
             Piotr Jan GRABOWSKI a/k/a "Walerek"
                         '              '




                                                                    ARREST WARRANT
ro:         Any authorized law enforcement officer

             YOU ARF: COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
r,wml oft,nw11 10 /,,. ,mn1et!J                  Piotr Jan GRABOWSKI a/k/a "Walerek"
who is accused of an offense or violation based on the following document filed with the cou11:

0 Indictment                    O Superseding Indictment                 O Information       O Superseding Information             'J Complaint
Cl Probation Violation Petition                         n   Supervised Release Violation Petition        O Violation Notice O Order of the Court

'I his offense is briefly described as follows:
     Pursuant to 18 U.S.C. § 3184, being a fugitive from Poland. whlch has requested extradition, under the extradition treaty
     between the United States and Poland, for (1) rape and (2) participating in a brawl or beating leading to injury, in violation
     of Polish criminal law.




                                                                                    Sarah A. L. Merriam, U.S.M.J. :~·
                                                                                                                            1ra;t~f2~\!";t3i~/~-'""01 USM.J
Dale:             08/26/2020
                                                                                                       frrni11x uOicer 's ~ig11a111re

City and state:               New Haven, Connecticut                                         Sarah A L. Merriam, U.S. Magistrate Judge
                                                                                                        / 'r/11/i·d 1111m~ mu/ /Ille


                                                                               Return

             This warra~ was receive<!_ on Ma,,')                 ~            Z.O . and the person was arrested on (1/01<<)
at   (d1 ·, w1ds1a1<'/        Cf('€€.n\,.l\.(.."' I           C'\
